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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    EVANSVILLE DIVISION


BRIAN WARRAN,                )
                             )
            Plaintiff,       )
                             )
       v.                    ) CAUSE NO: 3:22-cv-82
                             )
KOCH DEVELOPMENT CORPORATION )
d/b/a HOLIDAY WORLD,         )
                             )
            Defendant.       )



                     I. COMPLAINT AND DEMAND FOR JURY TRIAL

       1.      Plaintiff, Brian Warran (hereafter “Warran”), brings this action against Defendant,

Koch Development Corporation d/b/a Holiday World (hereafter “Defendant”), pursuant to the

Americans with Disabilities Act ("ADA"), as amended, 42 U.S.C. § 12101 et seq.

                                          II. PARTIES

       2.      At all times relevant to this action, Warran resided within the Southern District of

Indiana.

       3.      At all times relevant to this action, Defendant conducted business within the

Southern District of Indiana.

                                III. JURISDICTION AND VENUE

       4.      Jurisdiction is conferred on this Court by 28 U.S.C. § 1331, 28 U.S.C. § 1343, and

42 U.S.C. § 12117.

       5.      At all times relevant to this action, Warran was an “employee” as that term is

defined by 42 U.S.C. § 12111(4).
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        6.      Defendant is an “employer” as that term is defined by 42 U.S.C. § 12111(5)(A).

        7.      Warran is a qualified individual with a disability, has a record of a disability,

and/or is perceived and/or regarded as disabled, as that term is defined by the ADA, 42 U.S.C. §

12102(2) and 12111(8).

        8.      Warran suffers from a torn labrum which substantially interferes with one or more

of his activities of daily living.

        9.      Warran satisfied his obligation to exhaust his administrative remedies, having

timely filed a Charge and three amended Charges with the U.S. Equal Employment Opportunity

Commission against Defendant alleging discrimination based on his disability, his record of

disability and/or Defendant’s perception of Warran as disabled and retaliation for engaging in

protected activity. Warran received his Right to Sue and now timely files this lawsuit.

        10.     All of the events, transactions, and occurrences pertinent to this lawsuit have

occurred within the geographical environs of the Southern District of Indiana and all parties are

located therein. Therefore, venue is proper in this Court pursuant to 28 U.S.C. § 1391.

                                     IV. FACTUAL ALLEGATIONS

        11.     Defendant hired Warran on or about May 31, 2018, to work as a Maintenance

Technician. In or around February of 2021, Defendant promoted Warran to Lead Maintenance

Technician

        12.     At the time of his hire, Warran informed Defendant that he had an impairment in

his right arm and that he would need accommodations to safely perform the functions of his job.

From that point forward, Warran had approved accommodations on file with Defendant.

        13.     Warran is a qualified individual with a disability, record of disability, and/or is


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regarded as being disabled by Defendant. Warran can perform the essential functions of his job

with or without an accommodation.

       14.     Warran’s work performance met or exceeded the Defendant’s legitimate

expectations at all relevant times.

       15.     In or around the Summer of 2020, Defendant hired a new HR director, Jeff

Alexander (“Alexander”). Prior to Alexander working for Defendant, Warran had never had any

issues with Defendant honoring his accommodation requests and work restrictions. On or about

August 9, 2021, Alexander called Warran into a meeting and told Warran that he had ten days to

provide additional proof of the permanent impairment of his arm and his need for

accommodations. When Warran explained that he would need to make a doctor’s appointment

and take time off of work in order to comply with Alexander’s request, Alexander then handed

Warran a witness statement form and told him he could just sign a piece of paper stating that he

did not need accommodations in order to perform his job. Fearful that he would lose his job if he

did not comply, Warran signed the document.

       16.     A few days after the meeting with Alexander, Warran was called into a meeting

with his supervisor, Justin Deckard, (“Deckard”) and Defendant’s HR representative, Vanessa

Bye (“Bye”). In this meeting, Warran was given a write-up for alleged job performance issues

from September of 2020. These issues had never been brought to Warran’s attention prior to the

write-up, and in fact, Warran had been promoted in or about February of 2021 and had no reason

to believe his job was in jeopardy or that Defendant took issue with his work performance.

       17.     On August 19, 2021, Warran’s counsel emailed a courtesy copy of Warran’s

EEOC Charge of Discrimination to Alexander, Bye, and Deckard. The filing of the EEOC


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Charge of Discrimination constitutes protected activity by Warran. A few days after receiving

notice of Warran’s Charge of Discrimination, Deckard sarcastically asked Warran, “Are you sure

the Lead position is right for you?”

       18.     On August 26, 2021, Defendant issued Warran a final written warning for

allegedly failing to inspect and find damage to a ride, an allegation which Warran

wholeheartedly disputes.

       19.     Soon after filing his charge of discrimination, Warran applied for the Grounds

Keeping Supervisor position as well as several other positions with Defendant. Not only was

Warran not selected for an interview despite his substantial qualifications, Defendant offered the

Grounds Keeping Supervisor position to one of Warran’s subordinates who had only been

employed by Defendant for a few months.

       20.     At Defendant’s request, Warran again submitted accommodation paperwork from

his physician. Warran’s submittal of his accommodation paperwork constitutes protected

activity. Although his restrictions had not changed since the time of his hire, and he had

been successfully performing his duties with these restrictions, Defendant refused to

accommodate Warran’s reasonable requests for an accommodation and forced Warran on unpaid

FMLA leave until such time as Warran’s restrictions were lifted. Warran attempted to engage in

the interactive process with Defendant, even suggesting that he would rent, at his own expense,

a piece of equipment that would allow Warran to perform tasks with his restriction. Despite this,

Defendant refused to grant the reasonable accommodation and failed to engage in good faith in

the interactive process. Defendant refused to allow Warran to return to work and made it clear

that his employment would be terminated at the expiration of his FMLA leave if his restriction


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had not been lifted.

       21.     On January 18, 2022, Defendant informed Warran that it was terminating his

employment.

       22.     Defendant has accorded more favorable treatment to Warran’s similarly situated

co-workers who have not engaged in protected conduct, are not disabled and/or regarded as

disabled, and/or do not have a record of disability than it has accorded to Warran.

                                   V. CAUSES OF ACTION

             COUNT ONE: VIOLATIONS OF THE ADA - DISCRIMINATION

       23.     Warran hereby incorporates paragraphs one (1) through twenty-two (22) of his

Complaint.

       24.     Warran requested a reasonable accommodation from Defendant.

       25.     Defendant took adverse employment actions against Warran due to his request for

a reasonable accommodation and/or based on his disability, record of a disability, and/or a

perception of him being disabled. Defendant treated Warran’s similarly situated co-workers who

are not disabled and/or regarded as disabled, and/or do not have a record of disability more

favorably than it has treated Warran.

       26.      Defendant’s unlawful actions were intentional, willful, and done in reckless

disregard of Warran’s rights as protected by the ADA.

       27.     Warran has been and continues to be harmed as a result of Defendant’s unlawful

actions.

                       COUNT TWO: FAILURE TO ACCOMMODATE - ADA

       28.     Warran hereby incorporates paragraphs one (1) through twenty-seven (27) of his

Complaint.


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       29.     Warran requested a reasonable accommodation from Defendant.

       30.     Defendant failed and/or refused to grant Warran a reasonable accommodation or

otherwise engage in the interactive process.

       31.     Defendant’s unlawful actions were intentional, willful, and done in reckless

disregard of Warran’s rights as protected by the ADA.

       32.     Warran has been and continues to be harmed as a result of Defendant’s unlawful

actions.

                      COUNT THREE: DISABILITY RETALIATION - ADA

       33.     Warran hereby incorporates paragraphs one (1) through thirty-two (32) of his

Complaint.

       34.     Warran requested a reasonable accommodation from Defendant and filed a

Charge of Discrimination and three amended Charges with the EEOC. Warran’s request for a

reasonable accommodation and filing of EEOC charges constitutes protected activity under the

ADA.

       35.     Defendant took adverse employment actions against Warran in retaliation for his

engagement in protected conduct.

       36.     Defendant’s unlawful actions were intentional, willful, and done in reckless

disregard of Warran’s rights as protected by the ADA.

       37.     Warran has been and continues to be harmed as a result of Defendant’s unlawful

actions.




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                                           REQUESTED RELIEF

       WHEREFORE, Plaintiff, Brian Warran, respectfully requests that this Court enter

judgment in his favor as follows:

       1.      Defendant reinstate Plaintiff to the same position, salary, and seniority, or pay front

pay and benefits to him in lieu thereof;

       2.      Defendant pay lost wages and benefits to Plaintiff;

       3.      Defendant pay compensatory and punitive damages to Plaintiff;

       4.      Defendant pay pre- and post-judgment interest to Plaintiff;

       5.      Defendant pays Plaintiff’s attorneys’ fees and costs incurred in this action; and

       6.      Defendant pays to Plaintiff any and all other legal and/or equitable damages that this

Court determines just and proper to grant.



                                                      Respectfully submitted,


                                                      John H. Haskin (7576-49)
                                                      Natalie R. Dickey (25294-41)
                                                      JOHN H. HASKIN & ASSOCIATES
                                                      255 North Alabama Street, 2nd Floor
                                                      Indianapolis, IN 46204
                                                      Telephone:     (317) 955-9500
                                                      Facsimile:     (317) 955-2570
                                                      E-Mail:        jhaskin@jhaskinlaw.com
                                                      E-Mail:        ndickey@jhaskinlaw.com
                                                      Attorneys for Plaintiff, Brian Warran




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                                       DEMAND FOR JURY TRIAL

           Plaintiff, Brian Warran, by counsel, demands a trial by jury on all issues deemed so

triable.

                                                        Respectfully submitted,


                                                        John H. Haskin (7576-49)
                                                        Natalie R. Dickey (25294-41)
                                                        JOHN H. HASKIN & ASSOCIATES
                                                        255 North Alabama Street, 2nd Floor
                                                        Indianapolis, IN 46204
                                                        Telephone:     (317) 955-9500
                                                        Facsimile:     (317) 955-2570
                                                        E-Mail:        jhaskin@jhaskinlaw.com
                                                        E-Mail:        ndickey@jhaskinlaw.com
                                                        Attorneys for Plaintiff, Brian Warran




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